      Case 3:16-cr-00446-M IN Document 217
                              THE UNITED    Filed
                                         STATES   09/26/17COURT
                                                DISTRICT     Page 1 of 1                                        PageID 483
                                     FOR THE NORTHERN DISTRICT OF TEXAS
                                               DALLAS DIVISION

UNITED STATES OF AMERICA                                          )
                                                                  )
vs.                                                               )                             CASE N0.:3:16-CR-446-M (01)
                                                                 )
BENITO ESPINOZA, JR.,                                             )
           Defendant.                                            )

                                         REPORT AND RECOMMENDATION
                                          CONCERNING PLEA OF GUILTY

        BENITO ESPINOZA, JR., by consent, under authority ofUnited States v. Dees, 125 F .3d 261 ( 51h Cir. 1997),
has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to Count 1 of the Indictment,
and after cautioning and examining BENITO ESPINOZA, JR. under oath concerning each of the subjects mentioned
in Rule 11, I determined that the guilty plea was knowledgeable and voluntary and that the offense(s) charged is
supported by an independent basis in fact containing each of the essential elements of such offense. I therefore
recommend that the plea of guilty be accepted, and that BENITO ESPINOZA, JR. be adjudged guilty of Count 1 of
the Indictment, charging a violation of21 U.S.C. § 846, that is, Conspiracy to Distribute a Controlled Substance,
and have sentence imposed accordingly. After being found guilty of the offense by the district judge,

181     The defendant is currently in custody and should be ordered to remain in custody.

0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear and convincing
        evidence that the defendant is not likely to flee or pose a danger to any other person or the community ifre1eased.

        0        The Government does not oppose release.
        0        The defendant has been compliant with the current conditions of release.
        0        I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any other person
                 or the community ifre1eased and should therefore be released under§ 3142(b) or (c).

        0        The Government opposes release.
        0        The defendant has not been compliant with the conditions of release.
        0        If the Court accepts this recommendation, this matter should be set for hearing upon motion of the Government.

0       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (l)(a) the Court finds there is a
        substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has recommended that
        no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly shown under §~ 145(c) why the
        defendant should not be detained, and (2) the Court finds by clear and convincing evidence th                     is not likely
        to flee or pose a danger to any other person or the community if released.                                  _...~~            ,?
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        Date:    September 26, 2017.
                                                                                PAUL D. STICKNEY
                                                                           UNITED STATES MAGISTRATE JUDGE

                                                         NOTICE
          Failure to file written objections to this Report and Recommendation within fourteen (14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U.S.C. §636(b)(1 )(B).
